                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


PRODUCT ASSOCIATION
TECHNOLOGIES LLC,
                                                    C.A. No. 17-CV-00978-JFB-SRF
                    Plaintiff,

      v.

SHOPSTYLE, INC.,

                    Defendant.


                      ORDER OF DISMISSAL AND JUDGMENT

      The Court having considered the Joint Stipulation of Final Judgment and

Dismissal filed by Plaintiff Product Association Technologies, LLC (“Plaintiff”) and

Defendant ShopStyle, Inc. (“Defendant”), hereby enters final judgment in this action and

dismisses Plaintiff’s claims against Defendant with prejudice.



      SO ORDERED this 26th day of October, 2017.




                                                s/ Joseph F. Bataillon
                                                Senior United States District Judge
